Case 19-02867   Doc 20   Filed 05/06/19 Entered 05/06/19 13:27:11   Desc Main
                          Document     Page 1 of 11
Case 19-02867   Doc 20   Filed 05/06/19 Entered 05/06/19 13:27:11   Desc Main
                          Document     Page 2 of 11
Case 19-02867   Doc 20   Filed 05/06/19 Entered 05/06/19 13:27:11   Desc Main
                          Document     Page 3 of 11
Case 19-02867   Doc 20   Filed 05/06/19 Entered 05/06/19 13:27:11   Desc Main
                          Document     Page 4 of 11
Case 19-02867   Doc 20   Filed 05/06/19 Entered 05/06/19 13:27:11   Desc Main
                          Document     Page 5 of 11
Case 19-02867   Doc 20   Filed 05/06/19 Entered 05/06/19 13:27:11   Desc Main
                          Document     Page 6 of 11
Case 19-02867   Doc 20   Filed 05/06/19 Entered 05/06/19 13:27:11   Desc Main
                          Document     Page 7 of 11
Case 19-02867   Doc 20   Filed 05/06/19 Entered 05/06/19 13:27:11   Desc Main
                          Document     Page 8 of 11
Case 19-02867   Doc 20   Filed 05/06/19 Entered 05/06/19 13:27:11   Desc Main
                          Document     Page 9 of 11
Case 19-02867   Doc 20   Filed 05/06/19 Entered 05/06/19 13:27:11   Desc Main
                          Document     Page 10 of 11
Case 19-02867   Doc 20   Filed 05/06/19 Entered 05/06/19 13:27:11   Desc Main
                          Document     Page 11 of 11
